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 IT IS ORDERED as set forth below:



 Date: October 25, 2018
                                                     _____________________________________
                                                                 James R. Sacca
                                                           U.S. Bankruptcy Court Judge

 _______________________________________________________________


                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
  IN RE:                                         )      CASE NO.: 18-62146-JRS
                                                 )
  JEFFREY KIM DOWDA                              )
                                                 )      CHAPTER 13
            Debtor.                              )

                          ORDER AND NOTICE OF HEARING

           On October 24, 2018, Debtor filed a Motion for Emergency Hearing (Doc. No.

  15), seeking an emergency hearing on Debtor’s Motion to Impose Automatic Stay (Doc.

  No. 14). For good cause shown, it is hereby

           ORDERED that Debtor’s Motion for Emergency Hearing is GRANTED. A

  hearing on Debtor’s Motion to Impose Automatic Stay (Doc. No. 14) will be held on

  October 29, 2018, at 09:00 A.M. in Courtroom 1404, United States Courthouse, 75 Ted

  Turner Drive, SW, Atlanta, Georgia 30303. Debtor’s counsel is directed to serve this

  Order and Notice by e-mail, facsimile, or over-night mail on the Chapter 13 Trustee and

  all creditors and shall file a certificate evidencing such service within one day thereafter.

                                    END OF DOCUMENT
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  Prepared by:

   /s/______________
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